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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK

    GARY CARRION and SHAKUR VINES,

                                 Plaintiff,

                         -against-

    THE CITY OF NEW YORK, PO SHAWN
    NICHOLSON, PO MELVIN WELCH, PO                        Case No.: 24-CV-03805 (MMH)
    JOHNMATTHEW DIAZ, PO ANDY
    AGUILAR, PO JEFFREY CHIN, PO                             PROTECTIVE ORDER
    ANHAIZ HERCULE, PO BRIANNA
    FORMAN, PO DMITRY VORTMAN, PO
    GIUSEPPE ALTADONNA, PO KURLON
    PARRIS, SGT. CORY SHANE AND CPT.
    MALIK HIRANI,


                                 Defendants.




    The Court enters the following Protective Order governing the disclosure of
    confidential Discovery Material by a Producing Party to a Receiving Party in this Action.

  1.      Definitions. As used in this Order:

          a.     “Action” refers to the above-captioned litigation.

          b.     “Discovery Material” includes all information exchanged between the parties,
                 whether gathered through informal requests or communications between the
                 parties or their counsel or gathered through formal discovery conducted
                 pursuant to the Federal Rules of Civil Procedure (“Rule” or “Rules”) 30
                 through 36 and 45. Discovery Material includes information within documents,
                 depositions, deposition exhibits, and other written, recorded, computerized,
                 electronic or graphic matter, copies, and excerpts or summaries of documents
                 disclosed as required under Rule 26(a).

          c.     A “Producing Party” is a party to this litigation, or a non-party either acting on
                 a party’s behalf or responding to discovery pursuant to a Rule 45 subpoena,
                 that produces Discovery Material in this Action.

          d.     A “Receiving Party” is a party to this litigation that receives Discovery
                 Material from a Producing Party in this Action.



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  2.      Confidential Discovery Material. This Protective Order applies to all confidential
          Discovery Material produced or obtained in this case. For the purposes of this
          Protective Order, confidential Discovery Material shall include:

          a.     Commercial information relating to any party’s business including, but not
                 limited to, tax data, financial information, financial or business plans or
                 projections, proposed strategic transactions or other business combinations,
                 internal audit practices, procedures, and outcomes, trade secrets or other
                 commercially sensitive business or technical information, proprietary
                 business and marketing plans and strategies, studies or analyses by internal or
                 outside experts, competitive analyses, customer or prospective customer lists
                 and information, profit/loss information, product or service pricing or billing
                 agreements or guidelines, and/or confidential, project-related information;

          b.     Personnel data of the parties or their employees, including but not limited to,
                 information regarding employment applications; employment references;
                 wages and income; benefits; employee evaluations; medical evaluation and
                 treatment and related records; counseling or mental health records; educational
                 records; and employment counseling, discipline, or performance improvement
                 documentation;

          c.     Information concerning settlement discussions and mediation, including
                 demands or offers, arising from a dispute between a party and a non-party;

          d.     Medical or mental health information;

          e.     Records restricted or prohibited from disclosure by statute;

          f.     Non-public disciplinary histories or other records from Civil Complaint
                 Review Board, NYPD Internal Affairs Bureau, other NYPD divisions, or any
                 other governmental agency;

          g.     NYPD training materials, including, but not limited to, the non-public sections
                 of the Patrol Guide, Administrative Guide, Operation Orders, and training
                 manuals;

          h.     Any personal identifying information of non-parties, including but not limited to
                 names, addresses, phone numbers, to the extent exchanged during discovery,
                 and, for any party or non-party, any social security numbers, financial account
                 numbers, passwords, or other information that may be used for identity theft, to
                 the extent exchanged during discovery;

          i.     Information or records that would otherwise be regarded as privileged under
                 New York state or federal law and that is intentionally produced; and

          j.     Any information copied or extracted from the previously described materials,
                 including all excerpts, summaries, or compilations of this information or
                 testimony, and documentation of questioning, statements, conversations, or


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                 presentations that might reveal the information contained within the underlying
                 confidential Discovery Material.

  3.      Manner of Confidential Designation. A Producing Party shall affix a
          “CONFIDENTIAL” designation to any confidential Discovery Material produced in
          this Action.

          a.     For documentary information (defined to include paper or electronic
                 documents, but not transcripts of depositions or other pretrial or trial
                 proceedings), the Producing Party must affix the legend “CONFIDENTIAL” to
                 each page that contains protected material.

          b.     If only a portion or portions of the information on a document page qualifies
                 for protection, the Producing Party must clearly identify the protected
                 portion(s) (e.g., by using highlighting, underlining, or appropriate markings in
                 the margins).

          c.     If it is not feasible to label confidential Discovery Material as
                 “CONFIDENTIAL,” the Producing Party shall indicate via cover letter or
                 otherwise at the time of production that the material being produced is
                 confidential.

          d.     At the time of a deposition or within 10 days after receipt of the deposition
                 transcript, a party may designate as confidential specific portions of the
                 transcript which contain confidential matters under the standards set forth in
                 Section 2 above. This designation shall be in writing and served upon all
                 counsel. No objection shall be interposed at deposition that an answer would
                 elicit confidential information. Transcripts will be treated as confidential for
                 this 10-day period. Any portions of a transcript designated confidential shall
                 thereafter be treated as confidential in accordance with this Order. The
                 confidential portion of the transcript and any exhibits referenced solely therein
                 shall be bound in a separate volume and marked
                 “CONFIDENTIAL” by the reporter.

  4.      Timing of Confidential Designation.

          a.     Except as otherwise stipulated or ordered, or where discovery is made
                 available for inspection before it is formally disclosed, Discovery Material that
                 qualifies for protection under this Order must be clearly so designated before
                 the material is disclosed or produced.

          b.     If the Producing Party responds to discovery by making Discovery Material
                 available for inspection, the Producing Party need not affix confidential
                 designations until after the Receiving Party has selected the material it wants to
                 receive. During the inspection and before the designation, all material made
                 available for inspection is deemed confidential. After the Receiving Party has
                 identified the Discovery Material it wants produced, the Producing Party must


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                 determine which materials, or portions thereof, qualify for protection under this
                 Order, and designate the materials as “CONFIDENTIAL” as required under
                 this order.

  5.      Qualified Recipients. For the purposes of this Protective Order, the persons
          authorized to receive confidential Discovery Material (hereinafter “Qualified
          Recipient”) are:

          a.     The Parties, including any members, council members, officers, board
                 members, directors, employees, or other legal representatives of the parties;

          b.     Legal counsel representing the parties, and members of the paralegal,
                 secretarial, or clerical staff who are employed by, retained by, or assisting such
                 counsel; including vendors who are retained to copy documents or electronic
                 files, provide technical, litigation support, or mock trial services, or provide
                 messenger or other administrative support services;

          c.     Any non-expert witness during any deposition or other proceeding in this
                 Action, and counsel for that witness;

          d.     Potential witnesses and their counsel, but only to the extent reasonably related
                 to the anticipated subject matter of the potential witness’s deposition, trial, or
                 hearing testimony for this Action;

          e.     Consulting or testifying expert witnesses who will be providing professional
                 opinions or assistance for this Action based upon a review of the confidential
                 information, and the staff and assistants employed by the consulting or
                 testifying experts;

          f.     Any mediator or arbitrator retained by the parties to assist with resolving
                 and/or settling the claims of this Action and members of the arbitrator’s or
                 mediator’s staff and assistants;

          g.     The parties’ insurers for this Action, and their staff and assistants, members,
                 officers, board members, directors or other legal representatives;

          h.     Court reporters for depositions taken in this Action, including persons
                 operating video recording equipment and persons preparing transcripts of testimony;

          i.     The Court and its staff, any court reporter or typist recording or transcribing
                 hearings and testimony, and jurors; and

          j.     Any auditor or regulator of a party entitled to review the confidential
                 Discovery Material due to contractual rights or obligations, or federal or state
                 laws, or court orders, but solely for such contractual or legal purposes.

  6.      Dissemination by the Receiving Party.



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          a.      Before receiving confidential Discovery Material, each Qualified Recipient
                  who is not included in Sections 5(a) and (b) above, shall: (i) review and agree
                  to the terms of this Protective Order and (ii) execute a copy of the Agreement
                  attached hereto as Appendix A.

          b.      The prohibition on disclosing information designated as “CONFIDENTIAL”
                  exists and is enforceable by the Court even if the person receiving the
                  information fails or refuses to sign the Appendix A Agreement.

  7.      Limitations on Use. Discovery Material designated as “CONFIDENTIAL” shall be
          held in confidence by each Qualified Recipient to whom it is disclosed, shall be used
          only for purposes of this action, and shall not be disclosed to any person who is not a
          Qualified Recipient. Nothing herein prevents disclosure beyond the terms of this
          Protective Order if the party claiming confidentiality consents in writing to such
          disclosure.

  8.      Docket Filings. A party seeking to file documents containing confidential Discovery
          Material under seal must comply with the Court’s rules and electronic docketing
          procedures for filing motions for leave to file under seal.

  9.      Challenges to Confidentiality Designations. A Receiving Party that questions the
          Producing Party’s confidentiality designation will, as an initial step, contact the
          Producing Party and confer in good faith to resolve the dispute. If the parties are
          unable to resolve the dispute without court intervention, they shall apply to the Court
          for a determination as to whether the designation is appropriate. The party that
          designated as “CONFIDENTIAL” bears the burden of proving it was properly
          designated. The party challenging a “CONFIDENTIAL” designation must obtain a
          court order before disseminating the information to anyone other than Qualified
          Recipients.

  10.     Use at Court Hearings and Trial. Subject to the Federal Rules of Evidence,
          Discovery Material designated as “CONFIDENTIAL” may be offered and received
          into evidence at trial or at any hearing or oral argument. A party agreeing to the entry
          of this order does not thereby waive the right to object to the admissibility of the
          material in any proceeding, including trial. Any party may move the Court for an order
          that Discovery Material designated as “CONFIDENTIAL” be reviewed in camera or
          under other conditions to prevent unnecessary disclosure.
  11.     Return or Destruction of Documents. Upon final termination of this Action,
          including all appeals, each party shall make reasonable efforts to destroy all
          Discovery Material designated as “CONFIDENTIAL.” The destroying party shall notify the
          producing party when destruction under this provision is complete. If a party is unable to
          destroy all Discovery Material designated as “CONFIDENTIAL,” that material shall be
          returned to the Producing Party or the Producing Party’s counsel. This Protective Order shall
          survive the final termination of this action, and it shall be binding on the parties and their legal
          counsel in the future.

  12.     Modification. This Protective Order is entered without prejudice to the right of any



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           party to ask the Court to order additional protective provisions, or to modify, relax or
           rescind any restrictions imposed by this Protective Order. Disclosure other than as
           provided for herein shall require the prior written consent of the Producing Party, or a
           supplemental Protective Order of the Court.

  13.      Additional Parties to Litigation. In the event additional parties are joined in this
           action, they shall not have access to Discovery Material as “CONFIDENTIAL” until
           the newly joined party, by its counsel, has executed and, at the request of any party,
           filed with the Court, its agreement to be fully bound by this Protective Order.

  14.      Inadvertent Disclosure of Protected Discovery Material. The inadvertent,
           unintentional, or in camera disclosure of a confidential document and information
           shall not generally be deemed a waiver, in whole or in part, of any party’s claims of
           confidentiality. If at any time prior to trial, a producing party realizes that some
           portion(s) of the discovery material that the party produced should be designated as
           confidential, the party may so designate by apprising all parties in writing, and
           providing that the material has not already been published or otherwise disclosed, such
           portion(s) shall thereafter be treated as confidential under this Order.

  15.      Jurisdiction. This Court shall retain jurisdiction over all persons subject to this Order
           to the extent necessary to enforce any obligations arising hereunder.




  Attorney for Plaintiff                               Attorney for Defendant
                                                       /




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                                                       Dated: 02-10-2025
  Dated: 02-10-2025
                                                           SO ORDERED:


  Dated:          Brooklyn, NY
                            , 20                           HON. MARCIA M. HENRY
                                                           United States Magistrate Judge




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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK

      GARY CARRION AND SHAKUR
      VINES,

                                 Plaintiff,

                     -against-

      THE CITY OF NEW YORK, PO
      SHAWN NICHOLSON, PO MELVIN
      WELCH, PO JOHNMATTHEW                         Case No.: 24-CV-03805 (MMH)
      DIAZ, PO ANDY AGUILAR, PO
                                                              EXHIBIT A
      JEFFREY CHIN, PO ANHAIZ
      HERCULE, PO BRIANNA
      FORMAN, PO DMITRY
      VORTMAN, PO GIUSEPPE
      ALTADONNA, PO KURLON
      PARRIS, SGT. CORY SHANE AND
      CPT. MALIK HIRANI,

                                 Defendants.


    I hereby acknowledge that I am about to receive Confidential Information supplied in
    connection with the above-captioned case. I understand that such information is being
    provided to me pursuant to the terms and restrictions of the Protective Order entered in
    this case. I have been given a copy of the Protective Order, have read the Protective
    Order, and agree to be bound by its terms. I understand that Confidential Information as
    defined in the Protective Order, or any notes or other records that may be made regarding
    any such materials, shall not be disclosed to any persons except as permitted by the
    Protective Order.




    Printed Name                                                  Signature




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